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 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )    CASE NO. 2:11-cr-00096-JAM
                                           )
12                      Plaintiff,         )    AMENDED STIPULATION AND ORDER
                                           )
13   v.                                    )    DATE: February 26, 2013
                                           )    TIME: 9:45 a.m.
14   ALEJANDRO FLETES-LOPEZ, et al.,       )    COURT: Hon. John A. Mendez
                                           )
15                      Defendants.        )
                                           )
16                                         )
                                           )
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18        IT IS HEREBY STIPULATED by and between the parties hereto
19   through their respective counsel, Michael Beckwith and Paul Hemesath,
20   Assistant United States Attorneys, attorneys for plaintiff; Arturo
21   Hernandez, attorney for defendant Alejandro Fletes-Lopez, that — with
22   regard to Alejandro Fletes-Lopez alone — the previously-scheduled
23   status conference date of February 26, 2013, be vacated and the
24   matter set for status conference on March 5, 2013, at 9:45 a.m.
25        This request is made jointly by the government and defense in
26   order to permit time for continued preparation, including
27   investigation, which is currently in progress, and plea negotiations.
28    The parties agree that the interests of justice served by granting

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 1   this continuance outweigh the best interests of the public and the
 2   defendant in a speedy trial.      18 U.S.C. § 3161(h)(7)(A).
 3        The parties have been negotiating the terms of a plea agreement
 4   and expect to enter a change of plea on March 5, 2013.
 5        Further, the parties agree and stipulate the ends of justice
 6   served by the granting of such a continuance outweigh the best
 7   interests of the public and the defendants in a speedy trial and that
 8   time within which the trial of this case must be commenced under the
 9   Speedy Trial Act should therefore be excluded under 18 U.S.C.
10   sections 3161(h)(7)(A) and (B)(iv), corresponding to Local Codes T2
11   [complex case] and T4 [reasonable time for defense counsel to
12   prepare], from February 26, 2013, to and including March 5, 2013.
13
14
     Dated: February 21, 2013                /s/ Paul Hemesath
15                                           Paul Hemesath
                                             Assistant United States Attorney
16                                           Counsel for Plaintiff
17   Dated: February 21, 2013                /s/ Arturo Hernandez
                                             ARTURO HERNANDEZ
18                                           Attorney for Defendant
                                             ALEJANDRO FLETES-LOPEZ
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                                       O R D E R
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          The Court, having received, read, and considered the stipulation
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     of the parties, and good cause appearing therefrom, adopts the
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     stipulation of the parties in its entirety as its order.              Based on
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     the stipulation of the parties and the recitation of facts contained
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     therein, the Court finds that it is unreasonable to expect adequate
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     preparation for pretrial proceedings and trial itself within the time
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     limits established in 18 U.S.C. section 3161.         In addition, the Court
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     specifically finds that the failure to grant a continuance in this
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     case would deny defense counsel to this stipulation reasonable time
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     necessary for effective preparation, taking into account the exercise
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     of due diligence.    The Court finds that the ends of justice to be
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     served by granting the requested continuance outweigh the best
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     interests of the public and the defendant in a speedy trial.
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          The Court orders that the time from February 26, 2013, up to and
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     including March 5, 2013, shall be excluded from computation of time
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     within which the trial of this case must be commenced under the
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     Speedy Trial Act, pursuant to 18 U.S.C. sections 3161(h)(7)(A) and
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     (B)(iv), and Local Codes T2 [complex case] and T4 [reasonable time
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     for defense counsel to prepare].      It is further ordered that the
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     February 26, 2013, status conference shall be continued until March
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     5, 2013, at 9:45 a.m.
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25   Dated: 2/21/2013                        /s/ John A. Mendez
                                             Hon. John A. Mendez
26                                           United States District Court Judge
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